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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

   IN RE: BIOMET M2a MAGNUM                            )     CAUSE NO. 3:12-MD-2391-RLM-CAN
   HIP IMPLANT PRODUCT                                 )
   LIABILITY LITIGATION                                )     Judge Robert L. Miller, Jr.
                                                       )
   (MDL 2391)                                          )
                                                       )
                                                             This Document Relates to All Cases
                                                       )

               BIOMET DEFENDANTS’ MOTION FOR LEAVE TO FILE BRIEF
                             EXCEEDING 25 PAGES

          Pursuant to Local Rule 7(e)(2), the Biomet Defendants (collectively “Biomet”) respectfully

  move the Court for leave to file a brief in excess of 25 pages in support of Biomet’s position on the

  production of electronically stored information. In support of this motion, Biomet states:

          1.      On March 18, 2013, the Court held a case management conference to address the

  production of electronically stored information, among other topics. Following discussion at that

  conference, the Court issued a memorandum on March 20, 2013, directing the parties to file written

  submissions regarding their respective positions on the procedures or protocols that should be used

  to facilitate identification, retrieval, and production of electronically stored information by April 1,

  2013. [Doc. No. 309].

          2.      Local Rule 7(e)(1) provides that supporting briefs ordinarily must not exceed 25

  pages; however, under Rule 7(e)(2), the court may allow a party to file a brief exceeding this limit for

  extraordinary and compelling reasons.

          3.      Biomet’s submission pursuant to the Court’s March 20, 2013 memorandum includes

  detailed factual background, describes complex issues involving novel technology, and provides a

  breakdown of document processing expenses. This information will assist the Court in identifying

  the appropriate methods for conducting electronic discovery in this litigation.
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          4.      Accordingly, Biomet respectfully requests that the Court allow it to file a brief in

  excess of 25 pages.

          WHEREFORE, Biomet respectfully requests that the Court GRANT this motion, grant

  Biomet leave to file a brief in excess of 25 pages in support of its position on the production of

  electronically stored information, and grant Biomet all other just and proper relief.

  DATE: April 1, 2013                             Respectfully submitted:

                                               By: /s/ Erin Linder Hanig
                                                  John D. LaDue
                                                  Erin Linder Hanig
                                                  LADUE CURRAN & KUEHN LLC
                                                  200 First Bank Building
                                                  205 West Jefferson Boulevard
                                                  South Bend, IN 46601
                                                  Tel: (574) 968-0760
                                                  jladue@lck-law.com
                                                  ehanig@lck-law.com

                                                   John D. Winter
                                                   PATTERSON BELKNAP WEBB & TYLER LLP
                                                   1133 Avenue of the Americas
                                                   New York, New York 10036
                                                   Tel: (212) 336-2000
                                                   Email: jwinter@pbwt.com

                                                   Attorneys for Defendants




                                    CERTIFICATE OF SERVICE

  I certify that on April 1, 2013, I electronically filed the foregoing document with the Clerk of the
  Court using the CM/ECF system, which provided electronic service upon all counsel of record.



                                                          /s/ Erin Linder Hanig
                                                          Erin Linder Hanig (29113-71)
